          Case 1:20-cv-00610-KG-KK Document 50 Filed 10/30/20 Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


CONAN DOYLE ESTATE LTD.,

                                   Plaintiff,

         v.

NANCY SPRINGER, PENGUIN RANDOM                              Case No. 1:20-cv-00610-KG-KK
HOUSE LLC, LEGENDARY PICTURES
PRODUCTIONS, LLC, NETFLIX, INC.,
PCMA MANAGEMENT AND
PRODUCTIONS LLC, EH PRODUCTIONS
UK LTD., JACK THORNE, and HARRY
BRADBEER,

                                   Defendants.


                  FILM DEFENDANTS’ NOTICE OF LODGING IN SUPPORT OF
                     MOTION TO DISMISS FIRST AMENDED COMPLAINT

         Defendants Legendary Pictures Productions, LLC, Netflix, Inc., EH Productions UK

Ltd., PCMA Management and Productions LLC, Jack Thorne, and Harry Bradbeer (collectively,

the “Film Defendants”) give notice that they are delivering to the Clerk of the Court three copies

of each of the following physical exhibits in support of their motion to dismiss the plaintiff’s first

amended complaint – one copy to be lodged with the Court, and two courtesy copies in

recognition of the remote work necessary given the ongoing pandemic:

                  Exhibit 1: A true and correct copy of the film Enola Holmes (the “Film”),

                   released on September 23, 2020, and available to Netflix subscribers at

                   https://netflix.com/enolaholmes.

                  Exhibit 2: A true and correct copy of The Casebook of Sherlock Holmes (Dover

                   Thrift Edition – paperback, September 21, 2016).



NOTICE OF LODGING                                     1
4852-2807-7519v.1 0082338-000078
          Case 1:20-cv-00610-KG-KK Document 50 Filed 10/30/20 Page 2 of 3




See Freeman Decl. ¶ 3. The Film Defendants also are serving copies of these physical exhibits

on other counsel of record.

Date: October 30, 2020                        DAVIS WRIGHT TREMAINE LLP


                                              By: /s/ Nicolas A. Jampol
                                              Nicolas A. Jampol (CA Bar No. 244867)
                                              Cydney Swofford Freeman (CA Bar No. 315766)
                                              Camila Pedraza (CA Bar No. 329984)
                                              865 South Figueroa Street, 24th Floor
                                              Los Angeles, California 90017-2566
                                              Telephone: (213) 633-6800
                                              Email: nicolasjampol@dwt.com
                                              cydneyfreeman@dwt.com
                                              camilapedraza@dwt.com

                                              RODEY, DICKASON, SLOAN, AKIN &
                                              ROBB, P.A.
                                              Charles K. Purcell
                                              Post Office Box 1888
                                              Albuquerque, NM 87103
                                              Tel: (505) 765-5900
                                              Fax: (505) 768-7395
                                              Email: kpurcell@rodey.com

                                              Attorneys for Defendants Legendary Pictures
                                              Productions, LLC, Netflix, Inc., PCMA
                                              Management and Productions LLC, EH
                                              Productions UK Ltd., Jack Thorne, and Harry
                                              Bradbeer




NOTICE OF LODGING                              2
4852-2807-7519v.1 0082338-000078
          Case 1:20-cv-00610-KG-KK Document 50 Filed 10/30/20 Page 3 of 3




                                   CERTIFICATE OF SERVICE

          I, Nicolas A. Jampol, hereby certify that I caused a true and correct copy of the foregoing

Film Defendants’ Notice of Lodging in Support of Motion to Dismiss First Amended Complaint

to be filed through the Court’s CM/ECF system which caused all parties and counsel entitled to

receive notice to be served electronically as more fully described on the Notice of Electronic

Filing.



                                                   DAVIS WRIGHT TREMAINE LLP


                                                   By: /s/ Nicolas A. Jampol
                                                           Nicolas A. Jampol




NOTICE OF LODGING                                  3
4852-2807-7519v.1 0082338-000078
